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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  BRUNSWICK DIVISION


    JOSEPH POPPELL, ET AL.,                             *
                                                        *
           Plaintiffs,                                  *
                                                        *
    v.                                                  *
                                                        *
    CARDINAL HEALTH, INC., ET AL.,                      * CIVIL ACTION NO. 2:19-cv-64-
                                                        * LGW-BWC
           Defendants.                                  *
                                                        *
                                                        *   EMERGENCY MOTION TO
                                                        *    EXTEND DEADLINE TO
                                                        *   ANSWER OR OTHERWISE
                                                        *           RESPOND




                          EMERGENCY MOTION TO EXTEND
                    DEADLINE TO ANSWER OR OTHERWISE RESPOND

         Defendants Cardinal Health, Inc., Cardinal Health 108, LLC, Cardinal Health 110, LLC,

Cardinal Health 112, LLC, Cardinal Health 113, LLC, Cardinal Health 116, LLC, Cardinal

Health 200, LLC, Cardinal Health 414, LLC,1            McKesson Corporation,2 McKesson Drug

Company, LLC, McKesson Medical-Surgical, Inc., and McKesson Medical-Surgical Minnesota

Supply, Inc. (“Moving Defendants”) request an extension of their deadlines to answer, move or

otherwise respond to the Complaint until the later of thirty days after (1) this Court’s ruling on

any motion to remand, or (2) the entry of a decision by the JPML granting a motion to vacate a




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    By filing this motion, Cardinal Health 108, LLC, Cardinal Health 112, LLC, Cardinal Health
    113, LLC, Cardinal Health 116, LLC, Cardinal Health 200, LLC, and Cardinal Health 414,
    LLC do not concede that they are properly named or that they are proper parties to this action.

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conditional transfer order covering this action (or otherwise finally denying transfer of this action

to the MDL). This motion is opposed by Plaintiffs.

         1.         Plaintiff filed this action on April 17, 2019, in the Superior Court for Glynn

County. The case was assigned docket number CE19-00472. Moving Defendants were served

with the Complaint on April 18 and 19, 2019. Plaintiffs agreed to a 30-day extension for

Moving Defendants, and on information and belief, other Defendants, to respond to the

Complaint in the State Court action to June 18, 2019.

         2.         On May 20, 2019, Moving Defendants Cardinal Health, Inc. timely removed this

action with the consent of all other Moving Defendants.

         3.         Without an extension, Moving Defendants would be required to answer, move, or

otherwise respond to the Complaint by May 28, 2019. See Fed. R. Civ. P. 81(c).

         4.         On May 21, 2019, counsel for Moving Defendants telephoned and emailed

Plaintiffs’ counsel to request their consent to extend the deadlines to answer, move or otherwise

respond to the Complaint as described above.

         5.         Plaintiffs’ counsel requested everything that was filed with the removal in this

Court (which Moving Defendants’ counsel provided). Plaintiffs’ counsel has now declined to

agree to the requested extension.

         6.         Good cause exists to extend this deadline. Requiring Moving Defendants to

respond to the Complaint by May 28 would waste the parties’ and the Court’s resources. Neither

Plaintiffs nor Moving Defendants believe that this matter ultimately should proceed in this Court

at this time.


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    Although not named as a Defendant in the caption of the Complaint, the body of the Complaint
    identifies McKesson Packaging Services. Compl. ¶ 47a & n.9. McKesson Packaging Services
    is not a separate, incorporated entity, and thus it does not require an extension of time.

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        7.          Moving Defendants understand that Plaintiffs contend that this case should

proceed in Georgia state court, and that they intend to file a motion to remand this matter for lack

of subject-matter jurisdiction.

        8.          Moving Defendants disagree and contend that federal jurisdiction is appropriate,

but they intend immediately to tag the case for inclusion in the opioid multidistrict litigation, In

re National Prescription Opiate Litigation, MDL No. 2804 (N.D. Ohio) (“the MDL”). The

MDL, which is before Judge Dan Aaron Polster, contains more than 1,800 cases from around the

country like this one, centered on the marketing, distribution, and sale of prescription opioids. If

the Court determines that judicial efficiency counsels in favor of permitting the MDL Court to

assess Plaintiffs’ jurisdictional arguments, or that federal jurisdiction is appropriate, then the

Judicial Panel for Multidistrict Litigation (“JPML”) will almost certainly transfer the case to the

Northern District of Ohio. There, this case can be coordinated efficiently with other opioid-

related litigation, and it will return to this Court only once that coordination has run its course.

        9.          Whether Plaintiffs or Moving Defendants are correct on the jurisdictional

question, both agree that in the near term this case should be heard elsewhere. The parties’ and

the Court’s resources therefore would be wasted on briefing motions to dismiss, which the Court

likely would be unable to decide on completed briefing before the matter is either transferred to

the MDL or remanded. Moreover, any motion to dismiss briefing submitted in this Court would

need to be re-drafted if the case is either transferred to the MDL or remanded to state court.

        10.         Given that Plaintiffs intend to move to remand the case and Defendants intend to

tag this case for transfer to the MDL, the Court should not rule on any substantive motions to

dismiss (or require the parties to submit briefing on such motions) before it has been determined

where this case will proceed — in the MDL or in Georgia state court.                   Moreover, the



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jurisdictional issues can and should be addressed by the MDL judge, who currently presides over

more than 1,800 other opioid-related cases, many of which raise the same jurisdictional issues.

Indeed, “courts have repeatedly noted that the ‘general rule is for federal courts to defer ruling on

pending motions to remand in MDL litigation until after the [JPML] has transferred the case.’”

Little v. Pfizer, Inc., 2014 WL 1569425, at *3 (N.D. Cal. Apr. 18, 2014) (quoting Robinson v.

DePuy Orthopaedics, Inc., 2012 WL 831650 (W.D. Va. Mar. 6, 2012)).3

         11.        As noted above, the Moving Defendants contacted Plaintiffs to seek their

agreement to the relief requested in this motion, to no avail.              Plaintiffs’ insistence that

Defendants should respond to their Complaint in this Court—and do so within a very tight

timeframe—is contrary to their position that this Court does not have jurisdiction to adjudicate

the merits of this case. Given that position, this motion cannot prejudice Plaintiffs. Plaintiffs

have no reason to object if Moving Defendants do not file a dispositive motion before a court

that they claim lacks authority to decide that motion.

         12.        In addition to these threshold jurisdictional issues, an extension of the seven-day

response deadline is warranted because Plaintiffs’ Complaint contains 487 paragraphs and nearly

one hundred pages. Plaintiffs are 23 separate individuals who each bring eleven causes of


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    Moreover, even if the Court were inclined to consider the jurisdictional issues presented by
    Plaintiffs’ remand motion, the Court should not entertain—and thus the parties should not
    submit briefing in relation to—any substantive motions to dismiss before it has been
    determined that subject matter jurisdiction is proper. See Steel Co. v. Citizens for a Better
    Env’t, 523 U.S. 83, 94 (1998) (“The requirement that Jurisdiction be established as a threshold
    matter ‘spring[s] from the nature and limits of the judicial power of the United States’ and is
    ‘inflexible and without exception.’” (quoting Mansfield, C. & L.M. Ry. Co. v. Swan, 111 U.S.
    379, 382 (1884))); id. (“Without jurisdiction, the court cannot proceed at all in any cause.
    Jurisdiction is power to declare law, and when it ceases to exist, the only function remaining to
    the court is that of announcing the fact and dismissing the cause.” (quoting Ex Parte McCardle,
    74 U.S. 506, 514 (1868))); The Late Charles Alan Wright & Arthur Miller, 14C Fed. Prac. &
    Proc. Juris. § 3739 (4th ed. 2018) (A “district court must be certain that federal subject-matter
    jurisdiction is proper before entertaining a defendant’s motion under Federal Civil Rule 12.”).

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action. Moving Defendants need additional time to review and respond to a Complaint of this

size and complexity.

        13.         In light of these facts, Moving Defendants respectfully submit that their deadline

to answer, move (including motions under Rule 12(b)) or otherwise respond to Plaintiffs’

Complaint should be extended until the later of thirty days after (1) this Court’s ruling on any

motion to remand, or (2) the entry of a decision by the JPML granting a motion to vacate a

conditional transfer order covering this action (or otherwise finally denying transfer of this action

to the MDL).




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        Respectfully submitted, this 22nd day of May, 2019.



                                                   HUNTER, MACLEAN, EXLEY & DUNN,
                                                   P.C.


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                                                   McKesson Drug Company, LLC; McKesson
                                                   Medical-Surgical, Inc.; and McKesson
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                                          Health 200, LLC, Cardinal Health 414, LLC




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he has this day caused to be served a copy of the
within and foregoing Emergency Motion to Extend Deadline to Answer or Otherwise Respond
by using the Court’s CM/ECF system and by depositing the same in the United States mail, in a
properly addressed envelope, with adequate postage affixed thereon to insure delivery to:

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        This 22nd day of May, 2019.


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